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IN THE UNITED STATES DISTRICT CoURT :5»§)'/¢;4,<o \ 0
FoR TH;E WESTERN DISTRICT oF TENNESSEE 0 ,% /T’
EASTERN DIvIsIoN »/6,0 esa
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DOYLE JOHNSON, ) ’%4/
)
Plaintiff, )
)

VS. ) NO. 05-1096-T/A11

)
MERCK & CO., INC., ET AL., )
)
Defendants. )

 

ORDER GRANTING MOTION TO STAY

 

Plaintiff Doyle Johnson filed this action in the Circuit Court cf Madison County,
Tennessee, on March 8, 2005, against Merck and Company, Inc., maker of the prescription
drug known as Vioxx. Plaintiff also named as defendants certain local Merck sales
representatives and pharmacists. Merck removed the action to this Court on March 31,
2005, on the basis of diversity of citizenship, contending that the non-diverse defendants
Were fraudulently joined in an attempt to defeat diversity jurisdiction

Also on March 3 1 , 2005 , Merck filed amotion to stay all lilrther proceedings pending
a decision by the Judicial Panel on Multidistrict Litigation (“MDL Panel”) on whether this
case should be transferred to the United States District Court for the Eastem District of
Louisiana as a “tag-along” action in MDL Proceeding No. 1657, In re Vioxx Product

Liability Litigation. Plaintiff has not responded to the motion to stay.

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Pursuant to 28 U.S.C. § 1407, the MDL Panel issued the first Transfer Order
establishing MDL-1657 on February 16, 2005. In that order, the Panel stated:

On the basis of the papers filed and hearing session held, the Panel

finds that the actions in this litigation involve common questions of fact, and

that centralization under Section 1407 in the Eastern District of Louisiana will

serve the convenience of the parties and witnesses and promote the just and

efficient conduct of the litigation. All actions focus on alleged increased

health risks (including heart attach and/ or stroke) when taking Vioxx, an anti-
inflammatory drug, and whether Merck knew of these increased risks and

failed to disclose them to the medical community and consumers.

Centralization under Section 1407 is necessary in order to eliminate

duplicative discovery, avoid inconsistent pretrial rulings, and conserve the

resources of the parties, their counsel and the judiciary.
Transfer Order, at 2 (J.P.M.L. Feb. 16, 2005).

The decision Whether to grant a stay of a particular action is within the inherent
power of the Court and is discretionary w Landis v. North Am. Co.` 299 U.S. 248, 254-55
(1936) (“The power to stay proceedings is incidental to the power inherent in every court
to control the disposition of the causes on its docket with economy of time and effort for
itself, for counsel, and for litigants.”). A stay is particularly appropriate in these Vioxx
cases, as the MDL Panel has already determined that the claims involve common questions
of fact and that coordination under § 1407 is appropriate There are several other Vioxx
cases already pending in this district that will undoubtedly be transferred to MDL-1657, as
well as hundreds more in other districts.

The Court finds that having the pretrial issues decided in the MDL proceeding will

best promote judicial economy and conserve judicial resources. In addition, the Court finds

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that any prejudice to the plaintiff resulting from a stay would be minimal However, in the
absence of a stay, the risk to Merck of duplicative motions and discovery is significant

For the foregoing reasons, Merck’s motion to stay pending the MDL Panel’s transfer
decision is GRANTED.

IT IS SO ORDERED.

()Ma M

D. TODD
D STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
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Honorable J ames Todd
US DISTRICT COURT

